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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA
                                                     Criminal No. 18-292
                     v.

 ROBERT BOWERS


      UNITED STATES’ POSITION WITH RESPECT TO PRETRIAL MOTIONS
                              DEADLINES

       AND NOW comes the United States of America, by its attorneys, Scott W. Brady, United

States Attorney for the Western District of Pennsylvania, Troy Rivetti and Soo C. Song, Assistant

United States Attorneys for said district, and Julia Gegenheimer, Special Litigation Counsel, Civil

Rights Division, and hereby files its position with respect to the continuation of pretrial motions

deadlines beyond April 23, 2020:

       The United States has opposed the defense request to suspend all filing deadlines due to

COVID-19. As explained below, legal challenges to the Superseding Indictment and Notice of

Intent to Seek the Death Penalty should be addressed expeditiously, consistent with this Court’s

orders. At the same time, the United States recognizes that additional time (90 days) will be

necessary to litigate other motions and prepare the case for trial. In formulating its position, the

United States has given careful consideration to the remarkable number of crime victims in this

case, the severe, profound impacts upon them, and their statutory right to proceedings “free from

unreasonable delay.”

       By way of background, on April 13, 2020, defense counsel filed a pleading, styled as a

status report, in which they announced their intent to “ask the Court to suspend pending deadlines

and delay setting a deadline for the filing of the second round of motions … Instead, the defense



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will request that the Court schedule another status conference for the end of May and determine

then whether it is appropriate to set new deadlines.” (Doc. No. 218, at p. 5). This Court conducted

a telephonic status conference today, April 14, 2020, at which time the United States opposed the

defense request to suspend all deadlines. Acknowledging that accommodations can and should be

made in light of the disruptive impacts of COVID-19 upon the criminal justice system, and given

the predominantly legal nature of any challenges to the Indictment and Notice of Intent to Seek

the Death Penalty, 1 the United States proposed that the defense filing deadline be extended for one

to two weeks. The government further noted that the Superseding Indictment was returned on

January 29, 2019, the Notice of Intent was filed on August 26, 2019, and that it was therefore

reasonable for the defense to be prepared to proceed with briefing those issues, notwithstanding

the contingencies borne of the COVID-19 pandemic.

         At the conclusion of the telephonic status conference, this Court addressed the general

pretrial motions deadline, presently set for April 23, 2020. In light of the substantial number of

issues that remain to be decided before trial, including suppression motions and mental health

procedures pursuant to Fed. R. Crim. P. 12.2, the United States concurred with the defense request

for an additional 90 days. To be clear, extending the general pretrial motions deadline by 90 days:

1) does not affect the United States’ position that defense challenges to the Superseding Indictment

and Notice of Intent should proceed well before then; 2 and, 2) does not constitute an agreement



1
 During the October 31, 2019, status conference, this Court clearly articulated to both parties that, “so the defense
can be looking forward and knowing what I’m looking for next and continuing to work, the next set of motions that I
will be looking for are motions challenging the indictment, jury plan and notice of intent.” (Doc. No. 109, at p. 14).
On November 6, 2020, this Court continued the general pretrial motions deadline to April 23, 2020, with the assent
of both parties. (Doc. No. 108). Subsequently, a status hearing was scheduled for April 14, 2020, at which time it
was anticipated that additional filing deadlines would be set for the next series of pretrial motions, consistent with the
Court’s previously articulated schedule. (Doc. No. 181).
2
 In fact, during the telephonic status conference today, counsel for the defendant represented to the Court that they
should be able to file said motions by early June 2020.

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that the contingencies related to COVID-19 are an adequate basis in this, or any other, criminal

case to completely suspend orderly progress towards trial.

       After consideration of the positions of the defense and the United States, and “in light of

Chief Judge Hornak’s numerous Administrative Orders issued in response to the recent outbreak

of novel coronavirus disease 2019 (COVID-19) in this District,” this Court ruled today that

pending deadlines shall be suspended until May 30, 2020. (Doc. No. 220).

       Finally, at the status hearing before this Court, the government discussed whether in-

person, attorney visits at the Butler County Prison were temporarily suspended. In fact, as

subsequently confirmed by the U.S. Marshals Service, and as defense counsel has stated and is

aware, Bowers’s attorneys currently are permitted to visit him in-person at the Butler County

Prison, provided that they adopt appropriate personal protective measures. In its order, issued

today, this Court emphasized that “[t]he in-person nature of criminal proceedings, including

travel/transportation, and close consultation, are heightened in the context of a capital case.” (Doc.

No. 220). Accordingly, notwithstanding the challenges of COVID-19, in-person consultation

continues to be available to the defendant and his counsel.

                                                              Respectfully submitted,

                                                              SCOTT W. BRADY
                                                              United States Attorney

                                                      By:     s/Troy Rivetti
                                                              TROY RIVETTI
                                                              Assistant U.S. Attorney
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                                                              s/Soo C. Song
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                                       s/Julia Gegenheimer
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